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                                                                    CLERK US O!SiRICT COURT
 1    3AI PROPERTIES LLC                                              NCRTHERtl O:ST. Of TX
                                                                            fiU:.O
      8900 Independence Parkway
 2    Apt 7201                                                      2018 JUL 30 PM 3: 15
      Plano, TX 75025
 3
      3airealestate@gmail.com
 4    (214) 417-3347

 5    Plaintiff in Pro Se

 6

 7                               UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
 8

 9
10
     3AI PROPERTIES LLC,                            31 8 • CV I 9 6 6 :.. B
                                                    CASE no.- - - - - -
11                          Plaintiff
               v.                                   COMPLAINT FOR ECONOMIC AND
12                                                  COMPENSATORY DAMAGES,
     DAUN ABBETT (an individual),                   DECLARATORY AND INJUNCTIVE
13   BLOSSOM EXCHANGE,                              RELIEF
     JAMES CANTANDO (an individual)
14   ROBERT MCDONALD (an individual),               JURY TRIAL DEMANDED
15   DEREK MCDONALD (an individual),
     KRISTIN MARTIN (an individual),                1. Racketeering (RICO) 18
16   RAM CONSTRUCTION,                                  U.S.C. §§ 1962-1966
     GREG LLOYD (an individual),                    2. Honest Services Fraud 18 U.S.C. §
17   REAL ESTATE CENTER,                                1346
     PAULA GROHS (an individual),                   3. Violations of Civil Rights Title
18
     LOWELL RICHARDS (an individual and an             42 U.S.C. Section 1983-1985
19   official)                                      4. Conspiracy to Injure Rights of Party
     COUNTY OF CONTRA COSTA                             in State Court, 42 U.S.C. § 1985
20   SUPERIOR COURT OF CALIFORNIA                   5. Negligence per se: Failure to Carry
       CONTRA COSTA COUNTY,                             Out Mandatory Statutory Duties
21   JUDGE IlLL FANNIN (an individual and an        6. Negligence per se: Failure to Carry
     official)                                          Out Fiduciary Duties
22
                                                    7. Violations of the ADA/ADAAA
23   And DOES 1-100, inclusive.                     8. Violations of the Rehabilitation Act
                                                        of 1973
24          Defendants                              9. Defamation, 28 U.S. Code§ 4101
                                                    l 0. Intentional infliction of emotional
25   Kristina Karkanen                                   distress
26                                                  11. Negligent infliction of emotional
     Real Party of Interest                              distress
27                                                  12. Violations of the First Amendment

28
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 1   Comes now Plaintiff, 3AI PROPERTIES LLC, in pro se, for its Complaint against Defendants.

 2   3AI hereby alleges as follows:
 3

 4                                    PRELIMINARY STATEMENT

 5      1. Plaintiff 3AI Properties LLC ("3AI"), which is registered and operating within the State
 6          of Texas, was solicited across state lines for the purchase of a residential real estate
 7
            property in Shasta Lake City, California by real estate agent Daun Abbett ("ABBETT")
 8
            of Real Estate Center (CA BRE# 01955294).
 9
        2. Abbett solicited 3AI's business via the Contra Costa Superior Court. Abbett wanted to
IO

11          sell 3AI real estate property in the State of California, and sent 3AI prospective

12          properties.

13      3. Abbett sold 3AI a residential property in March 2018 located at 17618 Yellow Pine
14          Avenue in Shasta Lake City, California, representing both the seller and 3AI. The seller
15
            of the home, Greg Dulik ("DULIK"), was an older man who lived alone. Abbett made
16
            a sales commission from transactions with both the seller, Dulik, and 3AI, of
17
            approximately $20,000.
18

19      4. Plaintiff was guaranteed by Abbett that this property could be "flipped" after repairs

20          made that were estimated at $30,000 by Abbett. Specific vendors, family of Abbett,

21          were brought to the job site at Abbett's insistence and coercing after Abbett stated no
22
            local vendors "in market" were available. These vendors forced upon and coerced by
23
            Abbett were among Abbett's family, including James Cantando ("CANTANDO") and
24
            Robert McDonald ("MCDONALD") and RAM Construction ("RAM"), Derek
25
            McDonald ("DEREK MCDONALD") and Kristen Martin ("MARTIN").
26

27

28
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 I   5. The property was used by Defendants for purposes other than as a construction site and
 2      an unsafe, hazardous environment was created for at least several weeks on end,
 3
        created a huge liability and the job site was littered with alcohol containers, hundreds
 4
        of cigarette butts, and refuse strewn about. Defendants and their other family brought
 5
        guns to the property to hunt game, and threatened Plaintiff.
 6
     6. Irreconcilable, fraudulent bills were submitted to 3AI by McDonald and Cantando.
 7

 8      McDonald's bills also represented the work of Martin and Derek McDonald. Martin

 9      was asked not to return after causing interior damage, but McDonald insisted upon her
IO      return the following week.
II
     7. Cantando asked to be paid in cash continuously and without any invoices and billing
I2
        statements and 3AI refused, which angered Cantando greatly and caused him to lash
l3
        out at Plaintiff, causing harm and injury to Plaintiff.
I4
15   8. After McDonald was asked not to return to the job site, Abbett, Cantando and McDonald

16      immediately began to call, text and email 3Al, demanding payment for the fraudulent

I7      bills, or they would sue and lien the property, which they did immediately.
I8
     9.McDonald, who is a contractor licensed in the State of California (CA State Lie
I9
        #635333), and Cantando, a retired union laborer, did not make the renovations and
20
        repairs to the property that were requested and that they had agreed to make. Of the
2I
        alterations made to the property, poor workmanship and lack of compliance was cited
22
23      by Code Enforcement and other third parties who inspected the residential property.

24   10. Abbett, McDonald, and Cantando had spent close to $50,000 of3AI funds and were

25      planning to bill an additional $40,000-$50,000.
26
     I I. Over $30,000 was paid to a new contractor to redo the repairs and renovations and
27
        finish the job.
28
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 I   12. California Contractor's State Licensing Board opened an investigation on McDonald

 2      that is ongoing.
 3
     13. 3Al came to the property to inspect the construction work being done. Abbett,
 4
        Cantando, McDonald harassed, annoyed, threatened and stalked 3Al representatives at
 5
        the job-site, and also after leaving the job-site, Abbett, Cantando and McDonald
 6

 7      continued to engage in behaviors that were harassing, inappropriate and threatening,

 8      and terrifying, in violation of ADA and its supporting authorities.

 9   14. Abbett and Cantando bragged to 3AI that they own and conceal-carry fireanns and
10      which was scary and threatening, inflicting emotional distress and harm.
II
     15. Cantando brought his friends onto the property to hunt, and two men with hats in
12
        camouflage carrying large guns walking through the trees, who Cantando referred to as
13
        "my [his] buddies."
14

15   16. 3Al contacted Abbett's broker, Greg Lloyd, owner of Real Estate Center, who unable

16      to respond to or resolve 3Al's complaints. 3Al terminated business relations with

17      Abbett, Cantando, and McDonald EARLY May, and spoke to several regulatory
18
        agencies to resolve the issues with the transaction.
19
     17. Once 3Al informed Cantando, Abbett et al. not to return to the job site, Cantando and
20
        Abbett intensified their harassment and defamation of 3AI those that 3Al knows, via
21
        third parties and by Cantando calling from blocked telephone lines and threatening
22
23      with litigation and other harassment.

24   18. McDonald filed a defective mechanics lien against 3Al, as Abbett, Cantando and

25      McDonald promised he would. McDonald outright refused to mediate with the
26
        Contractor's State Licensing Board and 3AI, and simply demanded payment for the
27
        sub standard and incomplete work.
28
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 l   19. Cantando also filed a defective mechanics lien and claim for $8500 owed to Cantando

 2      for work performed at the property. Cantando had also committed theft at the property,
 3
        and charged items to 3AI's credit card account that were not authorized.
 4
     20. Cantando refused to provide an accounting of the activities he billed for. Initially,
 5
        Cantando and Abbett had said, prior to close of escrow, that Cantando wouldn't charge
 6

 7      for his work. After 3AI bought the property, Cantando had a change of heart and

 8      instituted an hourly rate of$25/hour. Abbett started saying Cantando need to be

 9      charging more
IO   21. Abbett was furious after 3AI made complaints to regulatory agencies in May, and
II
        began to defame 3AI to numerous third parties, referring to 3AI as "mentally
12
        unbalanced'', "crazy", and regarding 3AI as disabled individuals.
13
     22. Abbett telephoned parties who know 3AI soliciting parties to sue 3AI, fabricating
14

15      claims and false information to further Abbett's own financial interests and those of her

16      family.

17   23. Abbett telephoned many, many other people who know 3AI, and also contacted many
18
        third parties via email and social media in order to harass, slander, defame, as well as
19
        to solicit for Abbett's lawsuits and restraining orders, serving Abbett's own financial
20
        interests. 3AI was harassed and annoyed by Abbett's actions to the point of
21
        experiencing loss of productivity and profitability.
22
23   24. As a result of Abbett's actions, more harm was caused against 3AI by various third

24      parties.

25   25. Plaintiff seeks declaratory, injunctive, and equitable relief; compensatory and punitive
26
        damages; and attorneys' fees and costs to redress Defendants' blatant acts of fraud
27

28
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 1      upon 3AI, interstate commerce between Texas and California, whereby Plaintiff was

 2      deprived of honest goods and services.
 3
     26. Plaintiff seeks an injunction against Defendants to request a stay of the malicious
 4
        prosecution that Defendants have waged against 3AI and those 3AI knows, within the
 5
         State of Texas and also within the State of California
 6

 7                               JURISDICTION AND VENUE

 8   27. This Court has jurisdiction of this action under 28 U.S.C. § 1331, and 42 U.S.C. §§

 9       12133 and 12188 for Plaintiff's claims arising under federal law.
10   28. Venue is proper in this district pursuant to 28 U.S.C. § 139l(b) because Plaintiff's
11
        principal place of business, business entity and operations are located within this
12
        jurisdiction in the State of Texas, Collin County at the time this action is commenced,
13
        and the acts and omissions giving rise to this Complaint occurred during the time that
14

15      Plaintiff was established and conducting business within this jurisdiction.

16   29. Diversity jurisdiction is established, as Defendants reside in the State of California, in

17      Contra Costa and Shasta Counties. Plaintiff operates out of Collin County, in the State
18
        of Texas, where it has been formed for years.
19

20
                                             PARTIES
21
     30. Plaintiff 3AI Properties LLC bring this action as a business operating in the state of
22

23      Texas. Harm occurred to 3AI while it was located in the State of Texas, where it is

24      principally located and has operated for years.

25   31. Kristie Karkanen is a real party of interest.
26
     32. Defendant DAUN ABBETT is a licensed real estate agent in the state of California
27
        who works for Real Estate Center. She is sued in her professional and individual
28
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 1      capacities. She works at 2777 Bechelli Lane in Redding, California 96002 in Shasta
 2      County, California. She also maintains residency at 304 Drayton Court, Walnut Creek
 3
        CA 94598.
 4
     33. Defendant BLOSSOM EXCHANGE is a company operated by Abbett, that provides
 5
        for legal help and litigant support, and receives money for other types of transactions,
 6

 7      all of which are not fully known or understood by Plaintiff. This business is owned and

 8      operated in the State of California, and is located at 20766 Cattle Drive in Redding, CA

 9      96002 in Shasta County, California.
10   34. Defendant JAMES CANTANDO is an unlicensed contractor who is Abbett's current
11
        boyfriend and live-in partner. He resides with Abbett at 20766 Cattle Drive in Redding,
12
        CA 96002 in Shasta County, California. Cantando helps Abbett conduct her real estate
13
        business, and brokers deals on her behalf as 3AI discovered during its transaction with
14

15      Abbett. Cantando also maintains residency at 758 Harvard Drive, Pleasant Hill, CA

16      94523-1533, and he frequents the Contra Costa Superior Court and its proceedings

17      with Abbett, often serving as an "ADA advocate" and for his other purposes.
18
     35. Defendant SUPERIOR COURT OF CALIFORNIA, CONTRA COSTA COUNTY
19
        including its respective departments, agencies, and other instrumentalities, is a unit of
20
        local government in the State of California, is a "public entity" within the meaning of
21
        42 U.S.C. § 12131 (1) and is a recipient of federal funding. and is subject to the ADA
22

23      and its implementing regulations. Defendant is a public accommodation under federal

24      and state antidiscrimination laws and is subject to the requirements thereof. Its

25      CONTRA COSTA COUNTY COURT is located at 725 Court Street, Martinez CA
26
        94553.
27

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 I   36. Defendant COUNTY OF CONTRA COSTA, including its respective departments,

 2      agencies, and other instrumentalities, is a unit oflocal government in the State of
 3
        California, is a "public entity" within the meaning of 42 U.S.C. § 12131(1) and is
 4
        subject to the ADA and its implementing regulation. It is the recipient of federal
 5
        funding. It is located at 651 Pine Street, Martinez, CA 94553.
 6
     37. Defendant Commissioner LOWELL RICHARDS was presiding over the matters of
 7

 8      Abbett, McDonald, Cantando and Grohs directly related to this matter in Superior

 9      Court of Contra Costa at the time of the events complained of herein. He is located at
IO      725 Court Street, Martinez, CA 94553. He is being sued in his official and individual
II
        capacities. He was both a "public entity" within the meaning of 42 U.S.C. § 12131(1);
12
        and "private entity" within the meaning of 42 U.S.C. § 12181(1). He is sued in his
13
        official and personal capacities. Judges or those with judicial authority who abused
14

15      their power to make for their own benefit the doctrine of absolute judicial immunity.

16      Not only does it lack any basis in the Constitution, but is also contrary to its Article 2,

17      Section 4, which sets forth the principle that all public servants are accountable.
18      Violations of Section 504 of the Rehabilitation Act of 1973 abrogates any immunity.
19
        Richards is a recipient of federal funding assistance.
20
     38. Defendant JUDGE JILL FANNIN is the Presiding Judge in Superior Court of Contra
21
        Costa at the time of the events complained of herein. She is located at 725 Court Street,
22
23      Martinez, CA 94553. She is being sued in her official and individual capacities. She

24      was both a "public entity" within the meaning of 42 U.S.C. § 12131(1); and ''private

25      entity" within the meaning of 42 U.S.C. § 12181(1). She is sued in her official and
26
        personal capacities. Judges or those with judicial authority who abused their power to
27
        make for their own benefit the doctrine of absolute judicial immunity. Not only does it
28
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 1      lack any basis in the Constitution, but is also contrary to its Article 2, Section 4, which

 2      sets forth the principle that all public servants are accountable. Violations of Section
 3
        504 of the Rehabilitation Act of 1973 abrogates any immunity. Fannin is a recipient of
 4
        federal funding assistance.
 5
     39. Defendant PAULAS. GROHS, ESQ., is an independent attorney, member of the State
 6
        Bar of California and the local Bar Association, Contra Costa County Bar Association.
 7
 8      She was both a "public entity" within the meaning of 42 U.S.C. § 12131(1); and

9       "private entity" within the meaning of 42 U.S.C. § 12181(1) and a recipient of federal
10      financial assistance. She is located at 3100 Oak Road Suite l 00, Walnut Creek,
11
        California 94597. She is being sued in her official and individual capacities. She is
12
        someone whom Abbett solicited in order to harass, harm and injure JAL
l3
     40. Defendant ROBERT '~BOB" MCDONALD is a California licensed contractor and
14

15      owner of RAM CONSTRUCTION. Bob is Abbett's first ex-husband. He resides at 736

16      Andrea Way Pittsburg, CA 94565.

17   41. Defendant RAM CONSTRUCTION is a general construction company. It is owned by
18
        Robert "Bob" McDonald and operates within Contra Costa County and the State of
19
        California. It is located at 736 Andrea Way Pittsburg, CA 94565.
20
     42. Defendant GREG LLOYD is a licensed real estate broker in the state of California and
21
        owner and principal operator of Real Estate Center, and direct supervisor ofDaun
22

23      Abbett. He is sued in his professional and individual capacities. He works at 2777

24      Bechelli Lane in Redding, California 96002 in Shasta County, California.

25   43. Defendant REAL ESTATE CENTER is a real estate business owned and operated by
26
        Greg Lloyd, CA BRE #01059245. It is bound by federal law, including ADA/ADAA.
27

28
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 l      It is located at 2777 Bechelli Lane in Redding, California 96002 in Shasta County,

 2      California.
 3
     44. Defendant DEREK MCDONALD is Daun Abbett and Robert McDonald's grown son
 4
        who works for the Carpenter's Union and resides with his father in Contra Costa
 5
        County at 736 Andrea Way Pittsburg, CA 94565.
 6
     45. Defendant KRISTIN MARTIN is Robert McDonald's girlfriend who works for RAM
 7

 8      CONSTRUCTION. She also does odd jobs for a living and resides at 736 Andrea Way

 9      Pittsburg, CA 94565.

10

11

12
                                     STATEMENT OF FACTS
13
     46. At all times herein, 3AI Properties LLC is a business entity that is located in the state
14

15      of Texas.

16   47. 3AI closed escrow on 17618 Yellow Pine Avenue in Shasta Lake City on March 13,

17      2018, transaction solicited by and also conducted by Abbett. Abbett had advertised it to
18      3AI as a "flip" property that only needed "$30,000 in repairs" and Abbett kept
19
        promising that 3AI could net $100,000-$130,000 profit on it.
20
     48. In just several weeks, McDonald, who came to the Yellow Pine property, partied with
21
         alcohol and/or drugs, with his son and girlfriend, did a little bit of unpermitted and
22

23       defective work which had to be redone by another licensed contractor at the bequest of

24       local Code Enforcement. McDonald billed approximately $20,000 in total, failed to

25      provide a written contract, and harassed and coerced 3AI repeatedly to pay the first
26
         invoice of around $8,900. McDonald's work cost 3AI in excess of $40,000 to rectify.
27

28
                                                                                                     1
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 l   49. McDonald and Abbett and Cantando threatened 3AI with litigation if3AI did not meet

 2      their demands, and Defendants thus began a series of harassment, threats, stalking and
 3
        then malicious prosecution filed by all against 3AI by McDonald, Abbett and
 4
        Cantando.
 5
     50. Because Defendants Judge Jill Fannin, and Lowell Richards regarded 3AI real party of
 6
 7      interest "KRISTINE[sic] KARKANEN" as having of"mental illness'', and at the time

 8      that 3AI was comprised of individual(s) with qualified disabilities, the court was biased

 9      against her and 3AI, Defendants Fannin and Richards did not offer accommodations or
IO      reasonable modifications, and insisted that they are unable to provide them. As a result,
II
        the harassment of Defendants towards 3AI continued to cause harm, equal access to
12
        court proceedings denied.
13
     51. Lowell Richards intimidated and harassed "KRISTINE KARKANEN", refused to
14

15      examine what the real party of interest showed him during proceedings, and showed

16      active contempt and disgust for her in his courtroom. Richards as such is an accessory

17      to these acts of federal fraud, who has aided Cantando, Abbett, McDonald and Grohs.
18   52. Defendants Judge Jill Fannin and Lowell Richards failed to refer 3AI's real party of
19
        interest to a disability accommodations coordinator at the courthouse or at any other
20
        location, during the pendency of the Abbett, Cantando, McDonald's and Grohs'
21
        proceedings, and also failed to offer accommodations to the Plaintiff at any time such
22
23      as aids, pro bono counsel, or appropriate supports or reasonable modifications to

24      provide for access to proceedings related to the 3AI I Abbett transaction. As a result,

25      Plaintiffs could not fully and equally participate in court proceedings. Richards berated
26
        her and insisted she is a resident of the County of Contra Costa, and this is patently
27
        false since Karkanen has rented in Alameda County since 2017 until present.
28
                                                                                                    1
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 l   53. Abbett, Cantando, Grohs and McDonald maliciously prosecuted 3AI and real party of

 2      interest using false claims, perjury, lies, and fictitious events to taunt and harm her, and
 3
        Lowell Richards and Judge Fannin were accessories to these acts of harm.
 4
     54. The Defendants' actions and inactions caused injury to Plaintiffs which grossly
 5
        manifested into physiological symptoms including nausea, severe bodily pain and
 6
        anxiety, confusion, fatigue, depression and nerve pain. Because of the complex nature
 7

 8      of fibromyalgia and the nerves that are affected, at the time of the court matter Ms.

 9      Karkanen had physical pain. Ms. Karkanen was visibly ill and under duress; was
10      unable to cope and communicate effectively in court; and unable to fully understand
11
        the proceedings.
12
     55. Defendants Lloyd, Real Estate Center, Abbett, Cantando, Martin, Derek McDonald and
13
        McDonald, Blossom Exchange, Paula Grohs, Superior Court and Contra Costa County
14

15      have failed to mitigate the ongoing harm complained of herein.

16
                                     CAUSE OF ACTION:
17
         FIRST CLAIM FOR RELIEF - RICO ACT VIOLATIONS PURSUANT
18                          TO 18 U.S.C. § 1962
19
     56. Plaintiff's reports to the authorities and regulatory agencies and Abbett's broker Lloyd
20
        who had a duty to receive for these complaints and act upon the federal crimes
21
        occurring on his watch, have been repeatedly blocked through Defendants who
22

23      initiated sham legal processes and record-setting violations of substantive and

24      procedural due process by engaging people involved in the judicial process to short-

25      stop the Plaintiffs' complaints and investigations with State of California licensing
26
        bureaus.
27

28
                                                                                                       1
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 l   51. For example, Defendants' filing of civil orders of restraint against agents of3AI have
 2      sought to chill free, constitutionally protected speech, that Defendants have sought to
 3
        end. Defendants seek to circumvent or eliminate any further investigations, reports or
 4
        conversations with regulatory agencies regarding Defendants' unlawful and immoral
 5
        actions. These are clear violations of Plaintiff's right to free speech.
6
     58. The Defendants named in this action engaged in the latest misuse oflegal process to
 7

 8      block the reporting of these corrupt, criminal and subversive activities. As a result of

 9      the underlying corrupt, criminal, and subversive activities, the documented efforts to
IO      block Plaintiffs' activities, including the latest misuse of legal process by the
II
        Defendants, great harm has been inflicted upon commerce such as the buying and
12
        selling of real estate that occurs across state lines.
13

14   59. See.king To Have Local Judgments In California Established Against Plaintiff
15      The defendants and conspirators have sought to under local judgments in the California
16
        court system against 3AI using false testimony and malicious prosecution after
17
        Defendants knowingly and willingly defrauded 3AI Properties across state lines. The
18
        long history of legal efforts to obstruct justice in their own cases, provided the
19

20      Defendants assurance that they would succeed in the California courts. The California

21      courts were where the initial sham legal process was initiated to silence Plaintiff.

22      During this process, several California judges acted without personal and subject
23
        matter jurisdiction, violated California statutes and rules of court, violated federal
24
        statutes, landmark U.S. Supreme Court decisions, and constitutional protections,
25
        harming Plaintiff. Defendants could assume that these record-setting violations of
26
        state and federal laws would continue when they sought to enter state court judgments
27

28
                                                                                                   l
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 l       that were unlawful. Defendants again acted under color of state law, this time in

 2       Californi~ knowing that the state court judgments met the definition of a void

 3
        judgment based upon fraud and absence of personal jurisdiction.
 4
        Conduct Met Criteria For Conspiracy
 5
     60. Reasonable people, including a jury, could conclude that the defendants acted in a
 6

 7      conspiracy, and that the sole purpose of the conspiracy was to halt Plaintiffs attempts to

 8      make known the information of criminal activities and to block Plaintiffs attempts to

 9      petition government relating to these crimes.
10   61. The facts indicate that all defendants acted in a conspiracy among themselves, and
11
        with persons unknown who are directly or indirectly threatened by Plaintiffs' exposure
12
        activities. They engaged in multiple predicate acts as part of a conspiracy, inflicting
13
         great harm upon Plaintiff and inflicting harm upon interstate and international
14

15      commerce.

16       Combining Civil Rights and Due Process Violations With Obstruction Of Justice

17   62. The actions by the defendants and the conspiracy combined civil and constitutional
18
        violations, and fraud, with criminal activities. The criminal activities included
19
        obstruction of justice, misprision of felonies, and inflicted great harm upon a former
20
        federal agent and witness to halt his exposure of these crimes against the United States.
21
        Their conduct violated numerous criminal statutes
22
23      Violating Plaintiff's Civil and Constitutional Rights Under Color Of State Law

24   63. The defendants violated Plaintiff's civil and constitutional rights under color of state

25      law, in Texas and Californi~ while acting in a conspiracy that involved criminal
26
        activities against the United States.
27
        Predicate acts affecting interstate and foreign commerce and real estate fraud
28
                                                                                                    1
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 l   64. Each of the defendants knew that their actions impeded Plaintiffs' public-spirited

 2      attempts to expose and halt the corrupt and criminal activities that he and other former
 3
        and present government agents had discovered. They knew that their actions would
 4
        block, directly and indirectly, Plaintiffs reporting of corrupt and criminal processes and
 5
        acts.
 6

 7   65. Defendants violated Plaintiff's constitutional rights under the Petition Clause to

 8      petition government on matters relating to the corrupt, criminal, and treasonous

 9      conduct that Plaintiff and others discovered. Defendants sought to block Plaintiff's
IO      exposure of crimes against the Plaintiff through violations of federally protected rights:
II
        Defendants' conduct:
12
        • Blocked the reporting of these criminal activities through what is known as a greatly
13
        enlarged version of a SLAPP lawsuit, and Abbett, Cantando, Grohs and McDonald
14

15      initiated these and:

16      • Violated Plaintiff's right to the First Amendment petition clause by attacking its

17      exercise of this right through a sham and thinly disguised series of restraining order
18
         lawsuits filed in a distant location knowing that Plaintiff would be unable to fund a
19
        defense.
20
        • Violated federal criminal statutes relating to blocking or inflicting harm upon vital
21
        witnesses.
22
23      • Violated federal criminal statutes by acting to block Plaintiffs reporting of criminal

24      activities. Citizens, including murders, terrorists, and other felons; and (b) through

25      documented violations of large numbers of relevant substantive protections
26
        "guaranteed" by the laws and Constitution of the United States; and (c) denial of every
27
        relevant procedural due process right, protection and defense. In this way, the
28
                                                                                                     l
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 1      defendants felt confident that their civil and constitutional violations, and felony

 2      obstruction ofjustice and felony retaliation against a former federal agent and witness
 3
        would be protected in the c
 4
        • Violated federal criminal statutes by not reporting to government officials the
 5
        criminal activities they discovered from Plaintiff's writings.
 6

 7      Guaranteed Protection Against Consequences of Their Unlawful Corrupt

 8      Activities

 9   66. Defendants knew that Plaintiff's legal rights, protections, and defenses have been
IO      violated by the California judicial system and that these due process violations were
11
        expanded by state court judges, including Fannin and Richards.
12

13
                                      CAUSE OF ACTION:
14
                       SECOND CLAIM FOR RELIEF -
15       VIOLATION OF CIVIL RIGHTS: TITLE 42 U.S.C. SECTION 1983-1985
16

17   67. Plaintiff repeats and realleges all preceding paragraphs by reference, as if fully stated in

18      this Count. All defendants directly and indirectly violated, and aided and abetted the
19      violations, of plaintiff's civil and constitutional rights under color of state
20
        law occurring in the states of Texas and California. By these acts they violated Title 42
21
        U.S.C. Sections 1983-1985.
22
                                           COUNT ONE
23

24   68. Conspiracy To Interfere With Civil Rights, Title 42 U.S.C. Section 1985, Plaintiff

25      repeats and realleges all preceding paragraphs by reference, as if stated fully in this

26      Count..All defendants violated Title 42 U.S.C. Section 1985, by entering into a
27
        conspiracy to violate plaintiff's civil rights.
28
                                                                                                    1
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 1                                      COUNT TWO
                        (Civil RICO Violations, Title 18 USC 1961-1965)
 2
     69. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in
 3

 4      this Count. Each Defendant engaged in a pattern of predicate acts and racketeering

 5      activities affecting interstate and foreign commerce, as defined in the RICO statutes,

 6      Title 18 U.S.C. 1961(1)(5), and Each Defendant named in this action is a person within
 7
        the meaning of Title 18 U.S.C.1961(3).
 8
     70. Each Defendant, by their words and their actions, showed that they had agreed to
 9
        participate, directly and indirectly, in the affairs of the enterprise through
10

11      the perpetration of multiple predicate acts.

12                                          COUNT THREE
                     (Intentional Violation and Deprivation of Common Law Torts)
13
     71. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in
14

15      this Count. All defendants intentionally perpetrated torts and other wrongful acts

16      against Plaintiff: and aided and abetted such wrongful acts, knowingly inflicting great

17      harm upon plaintiff.
18
                                            COUNT FOUR
19                         (Violation of Constitutional Rights and Protections)

20   72. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in

21      this Count. All defendants, directly and indirectly, violated Plaintiff's rights and
22      protections under the First and Fifth Amendments to the U.S. Constitution, including
23
        the right to petition government,to free speech, to report criminal and treasonous acts in
24
         government offices, and the protections against being deprived of liberty and property
25
         without and in violation of due process.
26

27                                            COUNT FIVE
                                         (Fraud Against Plaintiffs)
28
                                                                                                        l
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 l   73. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in

2       this Count. All defendants engaged in a pattern of fraud against plaintiffs, and entered a
 3
        conspiracy to do so, which inflicted great and irreparable harm upon them. The fraud
 4
        was perpetrated through sham lawsuits and proceedings in Contra Costa Superior Court
 5
        and Shasta County Superior Court stating as facts what they knew to be false, and then
6
        seeking to have it enforced in other states.
 7
 8                                         COUNT SIX
                  (Interfering With Plaintiff's Right to Petition the Government)
 9
     74. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in
IO

ll      this Count. Defendants violated Plaintiff's first amendment right to petition

12      government, as Plaintiff sought to report the criminal activities to government officials

13      and agencies
14                                          COUNT SEVEN
15          (Fraudulent and Intentional Interference with Prospective Economic Advantage)

16   15. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in

17      this Count. All defendants directly and indirectly interfered with Plaintiff's prospective
18      economic advantage.
19

20                                        COUNTEIGHf
                           (Intentional Infliction of Emotional Distress)
21
     76. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in
22

23      this Count. All defendants engaged in a pattern of fraud against plaintiffs, and entered a

24       conspiracy to do so, which inflicted great and irreparable harm upon them. The fraud

25       was perpetrated through sham lawsuits filed in Contra Costa Superior Court and Shasta
26
         County Superior Court stating as facts what they knew to be false, and then seeking to
27
         have it enforced in other states such as Texas.
28
                                                                                                        l
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 l                                             COUNTNJNE
                                  (Violation of Constitutional Due Process)
 2
      77. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in
 3

 4       this Count.

 5    78. All defendants knowingly and repeatedly violated Plaintiff's right to procedural and
 6       substantive due process.
 7
                                                 COUNT TEN
 8                                          (Malicious Prosecution)
      79. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in
 9
         this Count.
10

11    80. Defendants engaged, directly and indirectly, in malicious prosecution, by filing a

12       lawsuit for improper and ulterior purposes. The purpose halt Plaintiff's exposure of

13       corrupt and criminal activities, halt 3AI's constitutionally protected free speech and
14       communications with the public and public agencies who Plaintiff sought to force them
15
         to perform the duty of addressing and halting the corrupt and criminal acts.
16

17                                     CAUSE OF ACTION:
18
      TIDRD CLAIM FOR RELIEF - HONEST SERVICES FRAUD COMMITTED BY
19   ABBETT, LLOYD, CANTANDO, MCDONALD, MARTIN, LLOYD, REAL ESTATE
                                 CENTER
20
               HONEST SERVICES FRAUD PURSUANT TO 18 U.S.C. § 1346
21
      81. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in
22

23       this Claim.

24    82. Abbe~ a licensed real estate agent, had a fiduciary duty to her client 3AI Properties

25       which she clearly violated by placing the financial well-being of her family members in
26
         front of her client.
27

28
                                                                                                     I
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 1    83. Abbett didn't just refer, she coerced vendors to do the work that consisted of her

 2       family. Abbett encouraged her family to file unlawful liens for monies not lawfully
 3
         gained; Abbett violated her fiduciary duty to her client.
 4
      84. The services and labor rates initially agreed upon by 3AI did not match what 3AI was
 5
         invoiced. This was deceptive, bait and switch business practice that deprived Nair
 6
         honest services that he is entitled to.
 7

 8    85. Cantando stated that other vendors to the job site would charge $800 for the gardening,

 9       and $12,000 for the roof. Cantando then presented invoices from those vendors that
IO       were significantly higher (when he presented formal invoices whatsoever). Cantando
11
         had misrepresented services and deprived Plaintiff of honest services.
12
      86. Cantando was aware of McDonald's labor law violations and the unsafe working
13
         conditions created by McDonald, Derek McDonald, and Martin at the job site, and
14
15       participated in causing poor workmanship and using 3Al's property as a site for

16       recreational alcohol and/or drugs rather than solely for construction activities.

17       Cantando believed that there was an enormous profit margin to be made because
18
         Abbett openly discussed this with Cantando and McDonald, in violation of her
19
         responsibility and duty to her client.
20
      87. Cantando made unauthorized purchases using credit cards that incurred monetary loss,
21
         to Plaintiff. Cantando then sought to be paid for the time that he spent making false and
22
23       unauthorized purchases.

24    88. Unmitigated harm is a continuing cause of action; here, said applies.

25

26
                                       CAUSE OF ACTION:
27
     FOURTH CLAIM FOR RELIEF - CONSPIRACY TO INJURE RIGHTS OF PARTY
28                    IN STATE COURT, 42 U.S.C. § 1985
                                                                                                    2
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 1
     89. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in
 2
        this Claim.
 3
 4   90. Abbett, Cantando, and McDonald, who solicited Grohs, filed false claims in the

 5      Superior Court of California, Contra Costa County, that further injured 3AI and
 6      violated their constitutional protections. Further, Abbett has solicited solicited
 7
        individuals in gathering together with Abbett, Cantando, McDonald and Grohs to file
 8
        false claims about 3Al, chilling consumer-protected free speech.
 9
     91. Abbett, Cantando, McDonald and Grohs, self-admittedly, want to "gag" 3AI from not
10

11      only seeking redress in resolving 3AI's current claims, but by utilizing the Superior

12      Court of Contra Costa, and agents Lowell Richards and Judge Jill Fannin, they are

13      seeking to hide a federal crime and federal fraud in commerce occurring across state
14       lines.
15
     92. Just like the Defendants Superior Court, Richards and Fannin, Defendants Abbett,
16
        Cantando, Grohs and McDonald also have a pattern and practice of using mental health
17
        accusations and discriminatory policies, namely attacking one's mental health, to mute
18

19      the redress of Plaintiff, who were subjected to heinous billing fraud and extortion.

20   93. Plaintiff then harassed, labelled as "crazy" "trainwreck" and mental health attacked by

21      Defendants Abbett, Richards, Cantando, et al. in violation of ADNADAAA.
22
     94. Cantando threatened Nair repeatedly that he would see to it that Nair and/or 3AI were
23
        jailed if they attempted to expose the crimes that Cantando et al. had committed.
24
        Cantando extorted Plaintiff.
25
     95. Cantando offered to 3AI to broker deal regarding the 17618 Yellow Pine property to
26

27       take it off 3AI' s hands in early June. Cantando offered to broker this deal for "a friend"

28
                                                                                                       2
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 l      of Cantando's, and Cantando demanded a full accounting of the monies spent on the

 2       property, offering to make 3AI a "silent investor".
 3
     96. Defendants Superior Co~ Richards and Fannin have, once again, discriminated
 4
        intentionally against Plaintiffs by refusing appropriate individualized treatment and
 5
        accommodations necessary to ensure full and equal opportunity for Plaintiffs to
 6

 7      participate in Defendants' programs in violation of Section 504 of the Rehabilitation

 8       Act, 29 U.S.C. § 794.

 9   97. As a result of Defendants' actions and inactions, 3AI are persons aggrieved who have
IO      been injured and suffered pecuniary losses, emotional pain, suffering, inconvenience,
II
        mental anguish, loss of enjoyment of life, and other no pecuniary losses.
12
13                                    CAUSE OF ACTION:
14   FIFTH CLAIM FOR RELIEF - NEGLIGENCE PER SE: FAILURE TO CARRY
15          OUT MANDATORY STATUTORY AND FIDUCIARY DUTIES

16   98. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully in

17      this Claim.
18
     99. Abbett misled, deceived and lied to 3AI about the transaction. Abbett failed to perform
19
        due diligence regarding the property. Abbett was negligent and incompetent in
20
        performed the profession for which she is licensed.
21
     100. Lloyd failed to supervise Abbett throughout the transaction with 3AI, causing harm to
22
23      Plaintiff that Lloyd was unwilling to correct.

24   IOL Lloyd and Abbett were thoroughly dishonest with 3AI, sought to chill 3AI's free

25      speech and constitutionally protected rights, and to cover up the deception and fraud
26
        evident within the transaction.
27

28
                                                                                                    2
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 I   I 02. Abbett, Cantando, McDonald, Grohs and Lloyd committed civil fraud judgment

 2      based upon licensed acts, and committed these acts upon 3AI.
 3
     103. Abbett falsely advertised the property and committed violations of real estate law and
 4
        regulations.
 5
     104. Abbett violated her professional responsibility and real estate law in the transaction
 6

 7      with 3AI and violated regulations, standards, and rules of conduct codified in the

 8      California Real Estate Law and the Regulations of the Real Estate Commissioner.

 9
                                      CAUSE OF ACTION:
IO
II      SEVENTHCLAIMFORRELIEF-VIOLATIONSOFTHEADA/ADAAA

12
     I 05. Plaintiff repeats and realleges all preceding paragraphs by reference, as if stated fully
l3
        in this Claim.
14

15   106. Defendants violated the ADA/ADAA. 29 U.S.C. 1974 prohibits retaliation against

16      disabled. Threats to disclose, or disclosure of, disabled litigants' confidential

17      information is a form of discrimination and violates the Constitutional right to privacy.
18
        The Constitution also provides that no state shall deny to any person within its
19
        jurisdiction the equal protection of the laws and provides for Due Process of law.
20
        Disabled litigants' right to confidentiality is inherent in the entire ADAAA statutory
21
        scheme as well as protected under several federal and state laws, including the Health
22

23      Insurance Portability and Accountability Act ("HIPAA"). The ADAAA applies in

24      conjunction with other federal and states laws, provides protection at a level greater or

25      equal to that provided by other federal and state laws, and prevails over any conflicting
26
        State laws. ADA Title II Technical Assistance Manual, 11-1.4200.
27

28
                                                                                                       2
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 l   107. Threats to disclose, or disclosure of, disabled litigants' confidential information is

 2      also a type of retaliatory and coercive conduct which is illegal under the ADAAA's
 3
        anti-retaliation, anti-coercion, and anti-intimidation provisions. 42 U.S.C. § 12203. See
 4
        also 28 C.F.R. § 35.134; ADA Title II Technical Assistance Manual, II-3.11000.
 5
     108. Employees of state are obligated by their employment policies not to discriminate.
 6

 7   109. Defendants including the State of California violated the California Constitution,

 8      Article I, 8 (1879) when plaintiff entered court, namely by violating the statute

 9      prohibiting Sex Discrimination; State of California Constitution enacted statute on Sex
10      Discrimination so that- "A person may not be disqualified from entering or pursuing a
11
        business, profession, vocation or employment because of sex, race creed, color or
12
        national or ethnic origin.
13
     110. State of California has adopted the EEOC, federal ADA amendment for persons
14

15      considered disabled under the law. According to the ADA Amendments Act, the term

16      "disability" means, with respect to an individual, one who: has a physical or mental

17      impairment that substantially limits one or more major life activities of such an
18
        individual with a record of such an impairment or an individual; regarded as having
19
        such an impairment. The ADA prohibits discrimination based on an actual, history of,
20
        or perceived disability, including disparate treatment or harassment. Under the ADA as
21
        amended effective January 1, 2009, applicants and employees are protected if an
22
23      employer treats them differently or harasses them based on an actual or perceived

24      impairment that is not transitory and minor. Such individuals need not have an

25      impairment that substantially limits a major life activity, or that is perceived to do so,
26
        in order to be protected from disparate treatment or harassment under the ADA. Under
27
        the laws enforced by EEOC, it is illegal to discriminate against someone (applicant or
28
                                                                                                     2
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 l      employee) because of that person's race, color, religion, sex (including gender identity,

 2      sexual orientation, and pregnancy), national origin, age (40 or older), disability or
 3
        genetic information. It is also illegal to retaliate against a person because he or she
 4
        complained about discrimination, filed a charge of discrimination, or participated in an
 5
        employment discrimination investigation or lawsuit. For example, if two employees
 6
        commit a similar offense, an employer many not discipline them differently because of
 7

 8      their race, color, religion, sex (including gender identity, sexual orientation, and

 9      pregnancy), national origin, age (40 or older), disability or genetic information.
10   111. Plaintiff complained of the unfair business practices, harassment, discrimination,
11
        cruel and unusual treatment, fraud and due process violations of Defendants.
12
     112. The State/court ignored facts and violations oflaw.
13
     113. Defendants including Greg Lloyd and Real Estate Center discriminated against
14

15      Plaintiff.

16   114. Defendants violated EEOC policies and practices. Congress, and by the courts

17      forcing an Amendment in 2008 to the ADA/ADAAA specifically did not release
18      jurisdiction of enforcement of the civil rights of the ADA/ADAAA to the courts, but
19
        instead placed jurisdiction in Title I first in the EEOC, and for ADA Title II and III.
20
        The state of California and the Court follows EEOC.
21
     124. The State of Texas, Attorney General Ken Paxton has the authority to file any civil
22
23      action which he or she deems necessary for the enforcement of the laws of Texas, the

24      preservation of order, and /or the protection of the rights and interest of the public. In

25      addition, the Attorney General may file any civil action which directly involves the
26
        rights and interests of the State. Since the Attorney General is the chief law officer of
27

28
                                                                                                     2
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 l          the state, "he possesses not only extensive statutory powers but also broad powers

 2          derived from the common law relative to the protection of the public interest"
 3
        132.The State of California, et al, must follow the Constitutional Provisions of the Civil
 4
            Rights act of 1964, The Civil Rights Act of 1964 (Pub.L. 88-352, 78 Stat. 241,
 5
            enacted July 2, 1964) is a landmark civil rights and US labor law in the United States
 6
            that outlaws discrimination based on race, color, religion, sex, or national origin.
 7

 8      133. Defendants violated discrimination laws.

 9
                                      JURY TRIAL DEMANDED
10
        133. Plaintiff demands a jury trial for all of the issues, and for all of the requested relief
II
            that a jury may award.
12

13                                      PRAYER FOR RELIEF

14      I. Wherefore, Plaintiffs respectfully prays that this Court enter Judgment granting
15          Plaintiffs:

16
      I. A declaratory judgment that Defendants have violated Plaintiff's rights as guaranteed by
17
            18 U.S.C. § 1346, Racketeering (RICO), 18 U.S.C. § 1962, U.S.C. § 1985, 28 U.S.
18
            Code § 410, and Americans with Disabilities Act;
19
      II. An Order from this Court which grants Temporary, Preliminary and Permanent Injunction
20

21          prohibiting Defendants from committing any further fraud against Plaintiffs, including

22          a stay of any additional litigation filed by Defendants against Plaintiffs that violates

23          their constitutional rights to due process, honest services and free speech;
24
     III. An order of this Court retaining jurisdiction over this matter until all Defendants have
25
            complied with all orders and mandates of this Court;
26

27   IV. An Order from this Court appointing legal counsel.

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                                                                                                         2
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 l    V. Declare that Defendants have violated 18 U.S.C. § 1346, Racketeering (RICO), 18

 2          U.S.C. § 1962, U.S.C. § 1985, 28 U.S. Code§ 410, and Americans with Disabilities
 3
            Act;
 4
     VI. Enjoin Defendants, their officers, agents and employees, and all other persons in active
 5
            concert or participation with Defendants, as well as any successors or assigns, from
 6

 7          engaging in discriminatory policies and practices against individuals based on their

 8          disabilities, and specifically from failing or refusing to take appropriate steps to ensure

 9          compliance with the requirements of 18 U.S.C. § 1346, Racketeering (RICO), 18
10          U.S.C. § 1962, U.S.C. § 1985, 28 U.S. Code§ 410, and Americans with Disabilities
11
            Act; Title II of the ADA, 42 U.S.C. § 12131 et seq., and its implementing regulations,
12
            28 C.F.R. Part 35; Title III of the ADA, 42 U.S.C. § 12181 et seq., and its
13
            implementing regulations, 28 C.F.R. Part 36, and Section 504 of the Rehabilitation Act,
14

15          29 U.S.C. § 794;

16     I.Order Defendants to modify their policies, practices, and procedures as necessary to bring

17          them into compliance with Title II of the ADA, 42 U.S.C. § 12131 et seq., and its
18
            implementing regulations, 28 C.F.R. Part 35; Title ID of the ADA, 42 U.S.C. §
19
            12181 et seq., and its implementing regulations, 28 C.F.R. Part 36; and Section 504 of
20
            the Rehabilitation Act, 29 U.S.C. § 794;
21
      II.Assess a civil penalty against defendants as authorized by 42 U.S.C. § 12188(b)(2)(C) to
22
23          vindicate the public interest;

24   IX. To reimburse 3AI for the expenses incurred due to the unlawful acts of Defendants.

25    X.To award compensatory and punitive damages to Plaintiffs; $5,000,000 per plaintiff from
26
            each title entity in their official and individual capacity, and treble damages pursuant to
27
            RICO;
28
                                                                                                          2
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 1   XI. To award Plaintiffs' attorney's fees and costs;

 2     I.Injunctive relief - That all actions in this matter that are filed or pending in the State of
 3
            California be immediately stayed.
 4
      II.Declaratory relief - All court orders actions and orders against 3AI Properties and any
 5
            agents of 3AI Properties to be declared void by Defendants.
 6

 7    V. That the Texas Attorney General Ken Paxton investigate this matter and take corrective

 8          action.

 9      .Order such other appropriate relief as the interests of justice require.
10
11
        I declare under penalty of perjury that the following is true and accurate.
12

13
        Respectfully submitted,
14

15

16                                 Dated 7/24/2018

17      Murali R. Nair
        Owner of3AI Properties LLC
18

19          3AI PROPERTIES LLC
            8900 Independence Parkway
20          Apt7201
            Plano, TX 75025
21          3airealestate@gmail.com
            (214) 417-3347
22
23          Plaintiff in Pro Se

24

25
26

27

28
                                                                                                         2
                         Case 2:18-cv-02345-KJM-DMC
    JS44 (Rev. 06/17)-TXND(Rev. 06/17)                DocumentSHEET
                                                CIVIL COVER    3 Filed 07/30/18                                                                                                Page 29 of 32
    The ~S 44 civil cover sheet and the ~nnation contained herein neither replace nor supplei_nent the fil_ing_ and service of pleadin&S or other
    provided ~ I~. rules of_<X?urt. Tuts form, approved by the Judtcial Conference of the United States m l'.ieptember 1974, is required for
    purpose of mrtlatmg the CIVJI docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF Tms FORM.)
    L (a) PLAINTIFFS                                                                                                         DEFENDANTS
                                                                                                                         Daun Abbett, James Cantando, Robert McDonald, Derek
    3AI Properties LLC                                                                                                   McDonald, Blossom Exchange, Paula Grohs, et al.
      (b) County of Residence ofFirstListed Plaintiff                            Collin County, Texas                     County of Residence of First Listed Defendant Shasta County, Galifomia
                                    (EXCEPT JN U.S. PLAINTIFF CASES)                                                                                             (TN US. PLAINTIFF CASES ONLY}
                                                                                                                             NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                       THE TRACT OF LAND INVOLVED.

       (c) Attorneys (Firm Name, Address, and Telephone Number)                                                               Attorneys (IfKnown)




    II. BASIS OF JURISDICTION (Place an "JC'inOneBoxOnly)                                                      III. CITIZENSHIP OF PRINCIPAL PARTIES(Piocean "X"inOneBoxforPtaimiff
                                                                                                                       (For Diversity Coses Only)                                              and One Box for Dejendanl}
    CJ l   U.S. Govermnent               CJ 3 Federal Question                                                                                      PTF            DEF                                           PTF      DEF
             Plaintiff                              (US. Govemment Not a Party)                                   Citizen of This s-                IX l           CJ      Incorporared or Principal Place       ll!I 4   CJ 4
                                                                                                                                                                             ofBusiness In This State

    (J 2   U.S. Government               ~4       Diversity                                                       Citizen of Another State          CJ 2           IX 2    Incmporaled am/ Principal Place       CJ 5     IX5
              Defundant                             (Indicate Citizenship ofParties in Item HI)                                                                               of Business In Anothel-S-

                                                                                                                  Citizen or S~ect of a              CJ 3          CJ 3    Foreign Nation                        06       06
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    0 l20Marine                      0 310 Airplane                                  0 365 Personal Iajury -                of Property 21 USC 881        0 423 Withdrawal                     CJ 376QuiTam(31 USC
    0 130 Miller Act                 CJ 315 AUplane Product                                 Product Liability     CJ 6900ther                                        28USC 157                        3729(a))
    CJ 140 Negotiable Instrument            Liability                                0 367 Health Care/                                                                                       0 400 s- Reapportionment
    CJ 150 Recoveiy of Overpayment 0 320 Assault. Libel &
           & Enfurcement of Judgment        Slander
                                                                                           Pbannaceutical
                                                                                           Personal Injury                                                0 820 Copyrights
                                                                                                                                                                              --·--           0 410 Antitrust
                                                                                                                                                                                              0 430BanksandBanking
    0 151 Medicare Act               CJ 330 Federal Employers'                             Product Liability                                              0 830 Parent                        0 450 Commerce
    0 152 Recovery ofDelirulted             Liability                                0 368 Asbestos Personal                                              0 835 Patent - Abbreviated          0 460 Deportation

                                                                                                                                  ..... _
           Student Loans                [J 340 Marine                                       Injury Product                                                           New Drug Application     IX 470 Racketeer Jnftuenced and
           (Excludes Veterans)
    CJ 153 Recovery of Overpayment
          of Veteran's Benefits
                                        0 345 Marine Product
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                                                                                                                                                                                              0 480 Consumer Credit
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    0 160 Stockholders' Suits           0 355 Motor Vehicle                          0 371 Truth in Lending              Act                              CJ 862 Black Lnng (923)             0 850 Securities/Commoditiesl
    0 190 Other Contract                      Product Liability                      0 380 Other Personal         0 720 Labor/Management                  0 863 DIWC/DIWW (405(g))                    Exchange
    0 195 Contract Product Liability    0 360 Other Personal                               Property Damage               Relations                        0 864 SSID Title XVI                0 890 Other Statutory Actions
    0 196 Fnmchise                            Injury                                 0 385 Property Damage        0 740 Railway Labor Act                 0 865 RSI (405(g))                  0 891 Agricultural Acts
                                        0 362 Per.!onal hliwY -                            Product Liability      0 751 Family and Medical                                                    0 893 Environmental Maum;

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    0 210 Land Condemnation
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                                        0 440 Other Civil Rights
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                                                                                                                         Leave Act
                                                                                                                  0 790 Other Labor Litigation
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                                                                                                                                                                                              CJ 895 Freedom oflnfonnation
                                                                                                                                                                                                      Act
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    0 220 Foreclosure                   CJ 441 Voting                                0 463 Alien Detainee               Income Secmi1y Act                       or De&odant)                 0 899 Administrative Procednre
    0 230 Rent Lease & Ejeclment        0 442 Employment                             0 510 Motions to Vacate                                              0 871 IRS-Third Par1y                      Act/Review or Appeal of
    CJ 240 Torts to Land                0 443 Housing/                       Sentence                                                                                26USC7609                       Agency Decision
    0 245 Tort Product Liability               Accommodations         CJ 530 General                                                                                                          CJ 950 Constitutionalit of
    0 290 All Other Real Property       CJ 445 Amer. w/Disabilities - CJ 535 Death Penally                                  1MMJGRA·1·n '"'                                                          State Statutes
                                              Employment                 Other:                                   CJ 462 Naturalization Application
                                        CJ 446 Amer. w/Disabilities - 0 540 Mandamus & Other                      0 465 Other Immigration
                                               Other                  0 550 Civil Rights                                 Actions
                                        0 448 Education               0 555 Prison Condition
                                                                      0 560 Civil Detainee -
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V. ORIGIN (Place an "X" in One Box Only)
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                                            Cite the U.S. Civil Statute under which you are filing (Do not dtejMrisllklimud- tmias tlMnity):
    VI. CAUSE OF ACTION 1-1::.;:~;..;:U:;.:,.S:;·;.:::~;.;...- 1962    ='------------------------------
                                                             o J-_..:..:
                                            Bnef description of cause:
                                            Fami members colluded around m bu ·n a "fli • house to renovate and defrauded me
VIL REQUESTED IN      0 CHECK IF nns IS A CLASS ACTION                                                              DEMAND$                                              CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDERRULE23,F.RCv.P.                                                                          42,000,000                                        JURYDEMAND:          )(Yes      DNo
VIII. RELATED CASE(S)
                       (See instructions):
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